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Attorneys for Rhea Hallinan

                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                         :
United States of America,                                :
                                                         :
                         Plaintiff,                      :
                                                         : Case No. 2:16-cr-00130-ER
                   v.                                    :
                                                         : NOTICE OF APPEARANCE
Charles Hallinan, et al.,                                :
                                                         :
                         Defendant.                      :
                                                         :

TO: The clerk and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as

counsel for Ancillary Petitioner Rhea Hallinan.




                                                /s/ Michael M. Mustokoff

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                                                Attorneys for Rhea Hallinan
Dated: August 9, 2018


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                                  CERTIFICATE OF SERVICE

          I, Michael M. Mustokoff, hereby certify that on this 9th day of August, 2018, that a copy

of the foregoing document was served on the clerk and counsel of record via the Court’s CM/ECF

system.



                                               /s/ Michael M. Mustokoff




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